                    Case 3:18-cv-01106-VAB Document 71 Filed 07/18/18 Page 1 of 1
                                                                                                                   Civil- (Dec-2008)
                                                           HONORABLE: V. A. Bolden
                              DEPUTY CLERKK. Torres                     RPTR/ECRO/TAPES. Montini
TOTAL TIME:                    hours 19    minutes
                                 DATE:  7/18/2018       START TIME: 11:03          END TIME: 11:22
                                                     LUNCH RECESS         FROM:            TO:
                                             RECESS (if more than ½ hr)   FROM:            TO:

CIVIL NO. 3:18cv 1106 (VAB)
                                                                                    Muneer I. Ahmad; Marisol Orihuela;
             J. S. R. et al                                                         Michael J. Wishnie ; Joanne Lewis
                                                                                            Plaintiff’s Counsel
                                 vs
             Jefferson B. Sessions, III et al                                      Michelle Lynn McConaghy; John B. Hughes
                                                                                            Defendant’s Counsel

                                            COURTROOM MINUTES- CIVIL

                       Motion hearing                            Show Cause Hearing
                       Evidentiary Hearing                       Judgment Debtor Exam
                   ✔ Miscellaneous Hearing Status Cnf


   .....#          Motion                                                              granted        denied       advisement
    .....#         Motion                                                              granted        denied       advisement
    .....#         Motion                                                              granted        denied       advisement
    .....#         Motion                                                              granted        denied       advisement
    .....#         Motion                                                              granted        denied       advisement
   .....#          Motion                                                              granted        denied       advisement
   .....#          Motion                                                              granted        denied       advisement
   .....           Oral Motion                                                         granted        denied       advisement
   .....           Oral Motion                                                         granted        denied       advisement
   .....           Oral Motion                                                         granted        denied       advisement
  .....            Oral Motion                                                         granted        denied       advisement
   .....              Briefs(s) due                    Proposed Findings due                       Response due
✔ ............. 7/27/2018 still on but the court will await to hear from the parties to confirm.           filed   docketed
  .............                                                                                            filed   docketed
  .............                                                                                            filed   docketed
  .............                                                                                            filed    docketed
   .............                                                                                           filed   docketed
   .............                                                                                           filed   docketed
   ............                             Hearing continued until                                   at
